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                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF ARKANSAS
                                                      CENTRAL DIVISION

IN RE: CHRISTINA LIGHT                                                                       CASE NO: 4:17-bk-10038 R
                                                                                                           Chapter 13

                                                TRUSTEE'S MOTION TO DISMISS CASE FOR
                                                 FAILURE TO SUBMIT TAX RETURNS AND
                                                      REMIT ADDITIONAL FUNDS

     Joyce Bradley Babin, Chapter 13 Standing Trustee, for her Motion to Dismiss Case for Failure to Submit Tax
Returns and Remit Additional Funds filed in the above case, states:
     1. The above case was filed on January 04, 2017, and the plan was confirmed on April 21, 2017.
     2. The Means Test (Form 122C) indicated that the Debtor is above median income debtor with monthly disposable
income that should be provided to unsecured creditors over the Debtor's sixty month plan term , the "disposable income
pool."
     3. The Debtor presented circumstances that prevented the payment of the entire disposable income pool .
     4. Because the Debtor is not paying the disposable income pool, the Debtor is required to timely submit annual tax
returns to the Trustee and, if necessary, make any adjustments to the plan payment to maximize the dividend amount to
unsecured creditors or explain the reasons that the plan payment should not increase.
     5. The Debtor has not provided copies of tax returns for the following year(s): 2019-2020. Consequently, the
Debtor has not provided amended schedules or committed additional funds to the plan. The Debtor's ability to fund the
disposable income pool cannot be determined.
     6. The Debtor is in material default with respect to the terms of the confirmed plan. Pursuant to 11 U.S.C. §
1307(c), the Debtor's case should be dismissed for cause, including the failure to comply with the plan provisions.
     WHEREFORE, the Trustee prays for an order dismissing the case and for all other just, proper and equitable relief.

                                                                       Respectfully submitted,

                                                                       Joyce Bradley Babin
                                                                       CHAPTER 13 STANDING TRUSTEE
                                                                       P O BOX 55161
                                                                       LITTLE ROCK, AR 72215-5161
                                                                       (501) 537-2500

                                                                       By: /s/ Joyce Bradley Babin
                                                                          Joyce Bradley Babin




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                                                CERTIFICATE OF SERVICE

   The undersigned certifies that a copy of the foregoing document was served on the Debtor's attorney and any other
ECF Filing Users through Notice of Electronic Filing (ECF) and on the Debtor and any other non-ECF Filing Users by
U.S. Mail, postage prepaid, as further listed below, on March 28, 2022.
                                                                                /s/ Joyce Bradley Babin
                                                                                  Joyce Bradley Babin
 CHRISTINA LIGHT
 12754 Chambers Rd
 Bauxite, AR 72011-8900




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